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             1 KEKER & VAN NEST, LLP
                 JOHN W. KEKER - #49092
            2 jkeker(ckv.com
                 MICHÃEL H. PAGE - #154913
             3 mpage(ckvn.com
                 CHRISiA M. ANDERSON - #184325
             4 canderson(ckvn.com
                 MATTHEW M. WERDEGAR - #200470
             5 mwerdegar(ckvn.com
                 JOHN E. TIÚIDAD - #250468
             6 jtrinidad(ckvn.com
                 AUDREYWALTON-HADLOCK- #250574
             7 awaltonhadlock~kvn.com
                 710 Sansome Street
             8 San Francisco; CA 94111- 1 704
                 Telephone: (a15) 391-5400
             9 Facsimile: (415) 397-7188

            10 Attorneys for Plaintiff
                 CARTER  BRYANT
            11

            12                         UNITED STATES DISTRICT COURT

            13                CENTRA DISTRICT OF CALIFORNIA - EASTERN DIVISION

            14 CARTER BRYANT, an individual,          Case No. CV 04-09049 SGL (RNBx)

            15 Plaintiff, . v.
                                                      (consolidated with CV 04-9059 & 05-2727)
                                                      Hon. Stephen G. Larson
            16
                                                      rpUBLIC REDACTEDl
            17 MATTEL, INC. a Delaware                CARTER BRYANT'S NOTICE OF
                Corporation,                          MOTION AND MOTION FOR
            18
                                                      PARTIAL SUMMARY JUDGMENT;
                                         Defendant.   MEMORANDUM OF POINTS AND
            19
                                                      AUTHORITIES IN SUPPORT
                                                      THEREOF
            20 CONSOLIDATED WITH                      (Public Redacted Declaration of Chrsta M.
                                                      Anderson; Separate Statement of
            21 MA TTEL, INC., v. BRYANT and           Undisputed Facts; and (Proposed) Order
                 MGA ENTERTAINMENT;   INC. v.         filed concurrently)
            22 MATTEL, INC.
                                                      Date:    April   23, 2008
            23                                        Time:     10:00 a.m.
                                                      Place:    Courtoom 1
            24
                                                      Phase I:
            25                                        DateComp. Filed: April 13, 2005
                                                      Discovery Cut-Off: Jan. 28, 2008
            26                                        Trial Date: May 27, 2008
            27

            28


                 (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
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                 1 NOTICE OF MOTION AND MOTION
                 2 CARTER BRYANT HEREBY GIVES NOTICE to all parties and their
                 3 attorneys of record that on April 23, 2008, at 10:00 a.m., or as soon thereafter as

                4 counsel may be heard in the above-captioned Court, located at 3470 Twelfth Street
                 5 in Riverside, California, he will, and hereby does, move this Court for partial

                6 summary judgment on MatteI Inc.' s claims against him, as set forth in the
                7 accompanying memorandum of points and authorities and proposed order.
                8 Specifically, Bryant moves for summary judgment on the following claims (set
                9 forth in MatteI's Second Amended
                                                                                      Answer and Counterclaims in Case No. 05.,
               10 2727 ("AC") and MatteI's Complaint against Bryant in Case No. 04-9059 ("MC"))
              11 in their entirety: Copyright Infringement (AC 1), Breach of
                                                                                                              Fiduciary Duty (AC 7,
              12 MC 2), Unjust Enrchment (MC 4), Conversion (AC 11, MC 5), Unfair
              13 Competition (AC 12), and Declaratory Relief (AC 13). Bryant also moves for
              14 summary judgment on MatteI's claims for Breach of Contract (AC 5, MC 1),
              15 Copyright Infringement (AC 1), Breach of
                                                                                             Fiduciary Duty (AC 7, MC 2), Unjust
              16 Enrichment (MC 4), Conversion (AC 11, MC 5), Unfair Competition (AC 12), and
              17 Declaratory Relief (AC 13), as each claim relies entirely on MatteI's alleged
              18 ownership ofBryants Bratz idea, sketches, Bratz sketches or other material, or any
                                                        1
              19 copyrght therein.



              20 Bryant's motion is brought under Federal Rule ofCivIl Procedure 56 and
              21 relevant case law, on the basis that there is no disputed issue of
                                                                                                                 material fact, and
              22 summary judgment is appropriate as a matter of
                                                                                                  law, with respect to the claims
             23 listed above. The motion is based upon the attached memorandum of points and

             24

             25 1 Bryant seeks entry of partial summary judgment as to each of these claims. However,
                                                                         these claims does not depend entirely
                      on MatteI's alleged ownership ofBryants Bratz idea, sketches, or other material, Bryant
             26 to the extent that the Court determines that any of


                      in the alternative moves the Court for an order under Fed. R. Civ. P. 56(d) establishing
             27 that MatteI does not have any such right of ownership. Bryant also requests similar relief
             28 assummary
                   to any other claim to
                           judgment    orany
                                          issue that the Court might determine to survive this motion for
                                              degree.

                      (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
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             1 authori ties, including those portions of argument joined by reference from the

             2 MGA parties' memorandum of
                                                                              points and authorities in support of          their separate
             3 motion for partial summary judgment; Bryant's separate statement of
                                                                                                                                  undisputed
             4 facts filed herewith, and certain undisputed facts set forth in the MGA parties'
             5 separate statement of
                                                           undisputed           facts (to the extent necessary to the arguments in
             6 which Bryant is joining); the Declaration of Chrsta M. Anderson filed herewith;
             7 the pleadings, records, and papers on file in this action; and such argument and
             8 evidence as may be presented to the Cour in further related filings or at the
             9 hearing on the Motion.

            10

            11 STATEMENT OF LOCAL RULE 7-3 COMPLIANCE
            12 The parties met and conferrng regarding this motion on dates including
            13     February 20, 2008.
            14

            15                                                                                          Respectfully submitted,

            16     Dated: March 7, 2008                                                                 KEKER & VAN NEST, LLP
            17

            18
                                                                                                By: Isl Chrsta M. Anderson
            19                                                                                          CHRSTA M. ANDERSON
                                                                                                        Attorn~y for Plaintiff
            20                                                                                          CARTER    BRYANT
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                   (PUBLIC REDACTEP) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
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              1                             MEMORANDUM OF POINTS AND AUTHORITIES
              2                                                          I. INTRODUCTION
              3 As part of                          MatteI's scorched-earth campaign to destroy Bratz through
              4 litigation (after years of defeat in the marketplace), MatteI has accused Carter

              5 Bryant of              breaching duties that he never had and of                                       stealing from Mattel what
              6 always belonged to Bryant. No evidence can support such claims. Bryantwas

              7 never a fiduciary of MatteI, and no contract gave MatteI any rights to Bratz. In
              8 addition, Mattel has filed a tangle of overlapping, duplicative claims that must be

              9 rejected in large part as preempted, untimely, and otherwise legally defective.

            10 Bryant should not be forced to endure a tral on any of these deficient claims.
            11 Accordingly, he brings this motion for partial sumary judgment on those Phase I
            12 claims as to which the undisputed material facts dictate a judgment in Bryant's
            13 favor.
            14 Bryant will disprove the rest of                                               MatteI's false allegations at tral, but the law
            15 and undisputed evidence in this case require a grant                                                     of   partial summary judgment
            16 in Bryant's favor on the following matters:
            17 First, MatteI's claim for breach of fiduciary duty fails in its entirety because
            18 Bryant was never a fiduciary of                                     MatteI, either by contract or as a result of                    his
            19 position within the company. The undisputed facts establish that Bryant was an
            20 ordinary, low-level MatteI employee (like                                                many other           creative artists at the
            21 company), who held no management role or discretionary authority over MatteI's
            22 business, and whose adhesive written contract with the company did not create any
            23 fiduciary obligations. As such, Bryant was not subject to any fiduciary duty to
            24 MatteI.
            25 Second, the undisputed facts establish that no contract between Bryant and
            26 MatteI gives MatteI any valid claim of ownership over Bryant's Bratz idea or other
            27 Bratz work (namely his sketches and any related documents, as the Bratz doUline
            28 evolved only later, with the help of many other people). The only contract Bryant
                                                                                                    1

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                   1 signed with MatteI was a non-negotiable form document that MatteI drafted and

                   2 required Bryant to sign when he began work at Mattel: MatteI's Employee

                   3 Confidential Information and Inventions Agreement ("Employee Agreement").

                   4 The terms of that contract do not encompass any part of Bratz even under ordinary
                   5 rules of contract interpretation (especially because ambiguities must be resolved

                   6 against MatteI, the drafter), let alone the more strngent requirements applicable to

                   7 a contract of adhesion. The two other documents on which MatteI may intend to

                   8 rely (MatteI's Conflict of Interest Questionnaire and Proprietary Information

                                                              they were, they would assign MatteI
                   9 Checkout) are not valid contracts and, even if



              10 no rights to Bratz. Accordingly, summary judgment for Bryant is proper as to
              11         MatteI's claims for Breach of                            Contract (AC 5, MC 1), Copyright Infringement (AC
              12 1), Breach of                     Fiduciar Duty (AC 7, MC 2), Unjust Enrchment (MC 4),
              13 Conversion (AC 11, MC 5), Unfair Competition (AC 12), and Declaratory Relief
              14 (AC 13), as each claim
                                                                      depends on MatteI's alleged ownership of     Bryant's Bratz
              15 idea, Bratz sketches or other material, or any copyrght therein.
              16 Third, MatteI's claim for Unjust Enrichment (MC 4) fails as a matter of
                                                                                                                               law
              17 because unjust enrchment is not a valid cause of action under California law.
              18 Finally, Bryant
                                                                  joins in the MGA parties' arguments, set forth in their
              19 separate summary judgment motion, that (1) the Copyright Act preempts MatteI's
              20 Conversion (AC 11, MC 5) and Unfair Competition (AC 12) claims, as they
              21 concern Bryant's Bratz idea and Bratz material, and any copyright therein, (2)
              22 MatteI's Unfair Competition (AC 12) claims fail as a matter oflaw (for the reasons
              23 explained below, including both certain arguments stated by MGA in which Bryant
             24 joins and argument stated separately herein), and (3) MatteI's claims for Copyright
             25 Infrngement (AC 1), Conversion (AC 1 1, MC 5), common law Unfair
             26 Competition (AC 12), and Declaratory Relief (AC 13) are all untimely.
             27

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                         (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                                    POINTS AND AUTHORITIES IN SUPPORT THEREOF
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              1                                                   II. BACKGROUND FACTS2
              2 As Carter Bryant will prove at tral, this battle of the dollhouse titans had a
              3 humble start. In 1997, Bryant was a young artist who had been working for a
              4 couple of              years as        a   junior designer in MatteI's mainline Barbie division. In that
              5 position, Bryant drew fashions for dolls, alongside many other such artist
              6 employees. While the work was steady, Bryant had limited prospects for creative
             7 freedom in his job.
              8 By the end of 1997, Bryant decided to return to live with his parents in
              9 Missouri, where he sought to pursue a freelance artist career. During his time in
            10 1998 as a freelance artist, Bryant sketched a number of freelance ideas (including
            11 sketches for greeting cards and dolls), and did freelance work for the Ashton Drake
            12 galleries. One of                     the independent creative ideas Bryant came up with and sketched
            13 during his time as a freelancer was an idea for a group of four fashionable
            14 characters-Hallidae, Lupe, Jade, and Zoë-intended to communicate a particular
            15 youthful attitude, that he called Bratz. The characters were inspired by a number
            16 of           ideas and images in the public domain, including (among other things) teenagers
            17 Bryant had observed and prominent ad campaigns by Steve                                             Madden and Coca-
            18 Cola. At the time, nothing came of that idea, nor many of the other ideas Bryant
            19 sketched in his freelance role.
            20 By the end of 1998, after unsuccessful attempts to market his freelancing
            21 ideas, Bryant's money ran out, and he retued to California to rej oin the ranks of
            22 MatteI's doll fashion designers. Almost two years later, Bryant's idea and sketches
            23 provided              the inspiration for the Bratz doll             line developed by MGA-a doll               line that
            24 has supplanted Barbie as the premiere fashion doll enjoyed by youth around the
            25
                    2 Many of
                            the facts provided in this Background Facts section are not material to
            26 determination
                                   the motion and, instead, are provided as background. Those undisputed
                                             of

                facts cited in support of this motion are identified in the Separate Statement of
            27 Undisputed Material Facts filed herewith and are cited here as "SUF 'i_" Bryant also
                relies upon and refers to certain undisputed facts set forth in the MGA parties' separate
            28 statement ("MGA SUF").
                                                                                3
                     (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                                POINTS AND AUTHORITIES IN SUPPORT THEREOF
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             1 world.

             2 WhileMattel disputes many facts surrounding the timing of                      Bryant's idea
             3 and the history of Bratz, the evidence permits no dispute over the facts material to
             4 this motion. In particular, and as set forth below, MatteI canot dispute the

             5 essential facts surrounding Bryant's return to work at MatteI in 1999, the

             6 paperwork MatteI made him sign, and the nature of               his duties at MatteI. Together
             7 these undisputed facts (discussed within the section below) require the entr of
             8 partial summary judgment against MatteI on numerous claims.

             9 A. Bryant returned to Mattei in 1999 and signed MatteI's mandatory "on-
                               boarding" paperwork.
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                   (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMRY JUGMENT; MEMORANDUM OF
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                 (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                            POINTS AND AUTHORITIES IN SUPPORT THEREOF
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               1 B.     MatteI did nothing to ensure that Bryant understood the terms of the
                        Employee Agreement.
              2
              3 MatteI did nothing to ensure that employees understood that they were

              4 signing contracts which (according to MatteI) potentially surrendered their entire
              5 artistic lives to the company.

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             15    c.   Bryant worked at MatteI as a low-level designer, without any
                        managerial or real discretionary authority.
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                   (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
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            15   D.    MatteI's course of conduct demonstrates that Mattei did not assert any
                       ownership rights to empl0r.ees' moonlighting or personal portfolio
            16         work-contrary to Mattei s litigation position now.
            17

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            26 No evidence suggests that MatteI established any routines or processes to
            27 identify, investigate, punish or prevent this "moonlighting" work.
            28
                                                          7
                 (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
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              7 E.               Bryant left Mattei,                  signing MatteI's mandatory "exit" paperwork.
              8                  Bryant left MatteI in October 2000, after voluntarily giving two weeks
              9 notice, to             pursue his Bratz idea as an independent freelancer working with MGA.
            10

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            15 Years later, after its attempts to compete with Bratz in the                                    marketplace
            16 failed, MatteI turned tò litigation.4
            17                                                                III. ARGUMENT
            18 The law and undisputed evidence in this case do not require a trial on most
            19 of MatteI's claims against Bryant. Partial summary
                                                                                                 judgment in Bryant's favor is
            20 proper because "there is no genuine issue as to any                               material fact and (Bryant) is
            21 entitled to judgment as a matter of                              law" on the issues and claims set forth below. '
            22 Fed. R. Civ. P. 56(c).
            23 First, MatteI's claim for breach of fiduciary duty fails in its entirety because
            24 Bryant was an ordinary, low-level MatteI employee who was never a fiduciary of
            25 MatteI, either by contract or as a result of                            his position within the company, and
            26
                    4 MGA's summary judgment brief summarizes the long history of this litigation and of
            27 facts related toBryant's statute of limitations arguments, showing MatteI's early notice of
                                                                                                those facts here by reference, as
                    though fully set forth herein.
            28 its claims. Bryant incorporates MGA's explanation of



                                                              8
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             1 thus owed no fiduciary duty to MatteI.
            2 Second, no contract between Bryant and MatteI gives MatteI any valid claim

             3 of ownership over                       Bryants Bratz idea or his sketches and related work. The
             4 undisputed evidence and California principles of contract interpretation establish
             5     the following:
             6                 . The only contract Bryant signed with         MatteI was a non-negotiable
                                          form document that MatteI arafted and required Blyant to sign when
             7                            he began work at MatteI: MatteI's Employee Confidentiality and
                                          Employee Agreement (the "Employee Agreement");
             8
                               .          The intrnsic and extrnsic evidence show that the terms of the
             9                            Employee Agreement do not give MatteI any ownership of       Bratz,
                                          even under ordinary rules of contract interpretation (especially
            10                            because ambiguities must be resolved against Matte!, who drafted the
                                          agreement thiough its lawyers);
            11
                               .          Even if the Employee Agreement could otherwise give MatteI rights
            12                            to Bratz fwhiclî it aoes not), it cannotdo so because it is an adhesion
                                          contract that must be interpreted to avoid results that are either outside
            13                             an empIÇlyee's reasonable expectations or substantively
                                          unconscionable;
            14
                               .          Additionally, the Employee Agreement cannot transfer ownership of
            15                             any: copypght in Bratz to MatteI because it does not satisfy Section
                                                   the ÇopyTght Act, which reguires a çlear, unequiyocal and
                                           204(a) of

            16                            negotiated wfltten instrment to transfer copyright ownership; and
            17                 .                              Interest Questionnaire and Proprietary
                                           MatteI's Conflict of

                                           Information Checkout are not valid contracts, and even if they were
            18                             they would assign MatteI no rights to Bratz.
            19
                   Accordingly, summary judgment for Bryant is proper as to MatteI's claims for
            20
                   Breach of           Contract (AC 5, Me 1), Copyrght Infringement (AC 1), Breach of
            21
                   Fiduciary Duty (AC 7, MC2), Unjust Enrchment (MC 4), Conversion (AC 11,
            22
                   MC 5), Unfair Competition (AC 12), and Declaratory Relief (AC 13) as each claim
            23
                   relies on MatteI's alleged ownership of                                  Bryant's Bratz idea, Bratz work, or any
            24
                    copyright therein.
            25
                                   In addition, MatteI's claim for unjust enrchment fails as a matter of law
            26
                   because unjust enrchment is not a valid separate cause of action under California
            27
                    law.
            28
                                                             9
                    (PUBLIC REDACTED) BRYANT'S MOTION FOR P ARTlAL SUMMARY JUGMENT; MEMORANDUM OF
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       1 Finally, Bryant joins in the MGA parties' arguments, set forth in their

       2 separate summary judgment motion, that (1) the Copyright Act preempts Mattel's
       3 Conversion (AC 11, MC 5) and Unfair Competition (AC 12) claims, as they
       4 concern Bryant's Bratz idea, Bratz work, and any copyrght therein, (2) MatteI's
       5 Unfair Competition (Ae 12) claims fail as a matter of                          law as set forth below, and
       6 (3) MatteI's claims for Copyrght Infringement (AC 1), Conversion (AC 11, MC
       7 5), common law Unfair Competition (AC 12), and Declaratory Relief (AC 13) are
       8 all untimely.
       9 A. Mattei's breach of fiduciary duty claim fails because Bryant did not
                          enter into a fiduciary relationship with Mattei as a matter of law.
      10

      11 The Cour should rej ect Mattel' s attempt to create a fiduciar relationship
      12 where the undisputed facts establish a straightforward employment relationship,
      13 which is insufficient to establish a fiduciary relationship as a matter of California
      14 law. In California, there are two types of fiduciary relationships, those imposed by
      15 law and              those undertaken by agreement. Comm. on Children's Television, Inc. v.
      16 Gen. Foods Corp., 35 CaL. 3d 197,222 (1983); GAB Bus. Servs., Inc. v. Lindsey &
      17 Newsom Claim Services, Inc., 83 CaL.AppAth 409, 416 (2000) ("GAB Business"),
      18 overruled on other grounds by Reeves v. Hanlon, 33 CaL. 4th 1 140 (2004).

      19 Because the undisputed facts show that Bryant was nothing more than MatteI's
      20 employee, MatteI cannot demonstrate a fiduciary relationship should be imposed
      21 by law or was entered into by agreement.
      22 First, MatteI cannot satisfy the established criteria of the leading California
      23 case, GAB Business, which held that in order for an employee of a corporation to
      24 have a fiduciary duty imposed by law, the employee must be an officer of                            the
      25 company, must participate in management of the company, and must have
      26 discretionary authority in his managerial capacity. GAB Bus., 83 CaL. App. 4th at
      27 420-21. Here, because Bryant was not an officer of                          MatteI, and did not   participate
      28 in MatteI's management, under California law, the                          cour must conclude that the
                                                     10
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        1 law will not impose a fiduciary relationship between Bryant and MatteI.

       2 Second, MatteI cannot avoid GAB Business (and thus summary judgment) by

       3 simply asserting that Bryant entered into a confidential relationship as a factual
       4 matter. To the contrar, California law requires more than the mere assertion of

       5 the sharing of confidences or the placement of trst in another. Indeed, California

       6 courts consistently grant summary judgment where a part does not set forth facts
       7 establishing the hallmarks of an agreed                                 upon confidential relationship: the
       8 voluntary and knowing acceptance of trst that creates a legally recognized
       9 fiduciary relationship, placing the fiduciar ina superior position of control over

      10 the dependent part. City Solutions, Inc. v. Clear Channel Communications, Inc.,
      11 201 F. Supp. 2d 1048, 1050-51 (N.D. Cal. 2002). Because MatteI can point to no
      12 facts which establish the hallmarks of                               such    a "confidential relationship," the Court
      13 should grant summar judgment as to MatteI's                                      claim for breach of   fiduciary duty.

      14                  1.          In California, an employee                     must bean officer, participate in the
                                      management of                  the company, and exercise discretionary authority
      15                              for a fiduciary relationship             to be imposed by law.
      16 As a threshold matter, "(i)n general, an employment contract does not
      i 7 indicate the existence of a fiduciary relationship." Calvao v. Superior Court, 201

      18 CaI. App. 3d 921,923 (1988); see also Amid v. Hawthorne Community Med.
      19 Group, 212 CaI. App. 3d 1383, 1391 (1989); Cal. Prac. Guide Employment
      20 Litigation Ch. l4-B ("Employees who are not officers or directors are generally not
      21 considered to be fiduciares"); Odorizzi v. Bloomfeld School Dist., 246 Cal. App.
      22 2d 123, 129 (1966) (observing that "no presumption of confidential relationship
      23 arises from the bare fact that the parties to a contract are employer and employee
      24 ").5 Indeed, under California law, an employee owes a fiduciary duty to his
      25 - employer only in limited circumstances, when he is "an offcer who participates in
      26
              5 In contrast, the duty ofloyalty is a significantly lesser duty imposed on California
      27 employees in certain circumstances. Although MatteI has asserted a claim for breach of
      28 loyalty (a claim
           to saddle      that Bryant
                     Bryant-an        denies
                                ordinary     and wil address
                                         employee-with       at tral),
                                                        the more       MatteIduties
                                                                   onerous    nevertheless  attempts
                                                                                    of a fiduciary.
                                                      11
              (PUBLIC REDACTED) BRYANT'S MOTION FOR P ARTlAL SUMMARY JUGMENT; MEMORANDUM OF
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        1 management of                      the corporation, exercising some discretionary authority." GAB
       2 Bus., 83 CaL. App. 4th                           at 420-21 (emphasis added). In GAB Business, the court
        3 held that a regional vice president, who reported directly to the president of GAB,
       4 and who was                    responsible for the overall regional planning, sales, quality control,
        5 budgeting and the performance of the region, owed GAB a fiduciary duty as a
        6 matter of               law. Id. at 422. Relying on a long-line of              California         authority in which
        7 officers of corporations were found to owe the corporation fiduciary duties, the

        8 court reasoned that, although an officer need not exercise control of the
        9 corporation, he must at least participate in the management of the corporation and
      10 have some discretionary authority in order to warrant legally imposing a fiduciary
      11 relationship. Id. at 420.6
      12 Federal courts, in determning whether an employee owed its employer a

      13 fiduciary duty under California law, have consistently followed the test set forth in
      14 GAB Business. For example, in Enreach Tech., Inc. v. Embedded Internet
      15 Solutions, Inc., 403 F. Supp. 2d 968 (N.D. CaL. 2005), the court denied                                     an
      16 employer's motion for summary judgment ona claim of                                           fiduciary duty, because
      17 there was no evidence that the chief software architect in question was an officer of
      18 the company or that he participated in the software company's management such
      19 that he would owe                         the company a fiduciary         duty. The cour made this finding
      20 despite evidence that the employee managed a team of twenty software engineers

      21 and held significant responsibilities within the                            company. Id. at 976.
      22 Here, similarly, the undisputed facts show that, as a matter of law,                                          MatteI
                          ,
      23 cannot satisfy the criteria set forth in GAB Business.
      24

      25

      26

      27 6 See Bancroft- Whitney Co. v. Glen, 64 CaL. 2d 327 (1966) (president of company owed

      28 fiduciary duty); Daniel Orifce Fitting Co. v. Whalen, 198 CaLApp. 2d 791 (1962)
           (officer who participated in management owed fiduciary duty).
                                                       12
               (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
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                5                  2.          Based on the undisputed facts, Bryant did not enter into a
                                               confidential relationship with MatteI.
                6

                7 Tacitly acknowledging                                       that Bryant does not owe MatteI a fiduciary duty
                8 imposed by law, MatteI may seek to avoid summary judgment by asserting that
                9 Bryant held a "position of trst" and had access to "highly confidential

              10 information" and thus owed MatteI fiduciary duties. The undisputed facts,
              11 however, demonstrate that MatteI and Bryant never left the ambit                                      of a
              12 straightforward employer-employee relationship,                                     and thus there is no triable issue
              13 of
                            jur to preclude summary judgment on MatteI's claim.8
                            fact for a



              14 Although a part may agree to undertake a fiduciary duty by entering into a
              15 "confidential relationship" with another part, GAB Bus., 83 CaL. App. 4th at41 7,

              16 "(a) confidential relationship arises only 'where a confidence is reposed by one
              17 person in the integrty of another, and. . . the part in whom the confidence is
              18 reposed... voluntarily accepts or assumes to accept the confidence.'" City

              19

              20 7                                          , the court need not consider whether he
                 participated in management with sufficient discretionary authority to justify imposing a
              21      fiduciary relationship as a matter oflaw. However, it is worth noting that the factors
                      bearing on whether an employee "participated in management" are whether he held the
              22 title of officer; whether he made decisions and commitments on behalf of                                 the company;
                      and whether he had final responsibilty for matters involvin~ the supervision and
              23 management of others, including work assignments, discipline, hiring, compensation
                      adjustments, and terminations. Applying these factors here, the undisputed evidence
              24 supports only a single inference: that Bryant did not participate in the management of
                      MatteI. See SUF ~~ 28-36.
              25      8 Although the question of whether a confidential relationship exists involves evaluation
             26 offacts,
                  a breachCity  Solutions,
                           of fiduciary duty201  F.Supp.
                                              claim when,2dasathere,
                                                                 1051,  courts
                                                                     "the facts, may  grant
                                                                                  taken      summary
                                                                                        in the        judgment on
                                                                                               light most
                      favorable to plaintiff, make it perfectly clear the parties' dealings fall into a category of
             27 relationships not susceptible to fiduciary obligations and that the parties have not, by their
                                                                               its ambit." Id.; see also, Worldvision Enterprises., Inc. v.
                      Am. Broad. Companies, 142 CaL. App. 3d 589, 595 (1983).
             28 actions, taken themselves out of



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        1 Solutions, 201 F. Supp. 2d at 1050 (citations omitted). "A 'confidential

        2 relationship' imposing fiduciary duties does not arise every time two parties share
        3 confidences with one another." Worldvision Enterprises, 142 CaL. App. 3d                                          at 595.
        4 Courts do not lightly impose                               fiduciary duties where no legally recognized duty
        5 exists because such duties are onerous, requiring the fiduciary to set the interests of
        6 the beneficiary ahead of                          his own. SeeComm. on Children's Television, Inc. v.
        7 Gen. Foods Corp., 35 CaL. 3d 197, 222 (1983) ("Children's Television") (fiduciary
        8 must "giv(e) priority to the best interest of                                   the beneficiary"); see GAB Bus., 83 CaL.
        9 App.4th at 416 (listing legally recognized fiduciary relationships); Oakland
      10 Raiders v. Natl Football League, 131 CaL.AppAth 621,632-33 (2005) (same).

      11 Indeed, in addition to the establishment of trst and confidence, there must
      12 also be a separate "act creating or establishing a fiduciary relationship known to
      13 law." Id. (citing Hayward Union Etc. School nist. v. Madrid, 234 CaL. App. 2d

      14 100, 124 (1965); Gosnell v. Lloyd, 215 CaL. 244, 254 (1932)); see also Maglica v,
      15 Maglica, 66 CaL. App. 4th 442,448 (1998) (absent a legally-recognized
      16 relationship,                   "there can be no fiduciary relationship no matter how 'confidentiaI' a
      17 relationship" exists between the parties). Moreover, the essence of a "confidential
      18 relationship" is that the "parties do not deal on equal terms, because the person in
      19 whom trst and confidence is reposed and who accepts that trst and confidence is
      20 in a superior position to exert uhique influence over the dependent part." City
      21 Solutions, 210 F. Supp. 2d at 1050; see also Vatv. Banko! America, 56 CaL.2d
      22 329,338 (1968) ("The key factor in the existenceofa fiduciary relationship lies in
      23 control by a person over the property of another. "); Lynch v. Cruttenden & Co., 18
      24 CaL. App. 4th 802, 809 (1993) (the person in whom confidence is reposed obtains
      25 control over the other person's affairs).
      26 Here, MatteI cannot point to a trable issue of                                            fact as to the criteria required
      27 by courts to establish a "confidential relationship." First, the undisputed facts
      28 show that Bryant did not knowingly or voluntarily agree to enter into a confidential
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              1 relationship with MatteI. See Comm. on Children's Television, 35 CaI. 3d at 221
              2 (part must knowingly agree to act as a fiduciary).
              3

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             8 Presumably MatteI will rely upon language in the Employee Agreement

             9 stating that MatteI

            10

            11 However,
                                                      ,this is nothing more than evidence that the
            12 parties to the    contract placed trst and confidence in each other, a fact which
            13 numerous courts      have held to be insufficient to give rise to a fiduciary relationship.
            14 See City Solutions, 201 F. Supp. 2d at 1050; WorldvisionEnterprises, 142
            15 CaI.App.3d at 595. Indeed, as discussed above, the Employee Agreement was an
            16 adhesive form agreement,

            17

            18 MatteI cannot credibly claim that it
            19 creates a confidential relationship giving rise to a fiduciary relationship with every
            20 employee it hires by
            21 Cf GAB Bus., 83 CaI.
            22 App. 4th at 420 ("After all, a corporation cannot make a mail clerk its fiduciary by
            23 simply bestowing upon the clerk the title of officer.").
            24 Moreover, MatteI cannot point to any act creating a legally recognized
            25 fiduciary relationship. As discussed above, a confidential relationship does not
            26 arise whenever two parties share confidence with one another-there must be an
            27 act creating a fiduciary relationship known to law. For example, in Maglica v.
            28 Maglica, 66 CaI. App. 4th 442, 448 (1998), the cour held that parties living
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              1 together as husband and wife, who were not legally married, could not claim a
              2 fiduciary relationship based on a confidential relationship since the relationship, no
              3 matter how confidential, could not meet the requirements of a fiduciary
              4 relationship known to law (legal marriage). Similarly, in Wolf v. Superior Court,
              5 107 CaL. App. 4th 25, (2003), the court held various contractual rights in a contract
              6 between a novelist and a movie studio, such as the.right to contingent
              7 compensation, profit sharing rights, and rights to an accounting, did not create a
              8 fiduciary relationship rather than an arms-length transaction. ¡d. at 30-33.

              9 Further, there is no evidence that Bryant was placed in a position of control

            10 over Mattel'8 propert or affairs. As discussed above,
            11

            12 See Oakland Raiders, 131 CaL. App; 4th at
            13 633 (granting summary judgment                                         and holding that no confidential relationship
            14 exists where one part is not placed in superior position to other party); see also
            15 City Solutions, 201 F. Supp. 2d at 1049 (granting summary judgment to defendant
            16 on breach of fiduciary duty claim because, among other things, the contract
            17 demonstrated that defendant did not have balance of power over the other);
            18 Maglica, 66 CaL. App. 4th at 488 (no matter how "confidential" a relationship
            19 between an unmarried, cohabitating couple, without the entrstment of                                              propert
            20 there can be no                     fiduciary relationship).
            21 Lastly, the existence of                                     the contracts governing the             relationship between
            22 Bryant and MatteI precludes a finding that the parties entered into a separate
            23 "confidential relationship." As a                                  general rule, cours have found           that no fiduciary
            24 duty exists "where                       other legal relationships clearly existed between parties which
            25 covered the transaction in suit and which were inconsistent with the existence of
            26 fiduciary duty." Oakland Raiders, 131 CaL. App. 4th at 634 (internal quotation

            27 marks omitted); see also City Solutions, 201 F. Supp. 2d at 1049 (existence of
            28 confidentiality agreement precludes finding of                                             breach of fiduciar duty not

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                  1 explicitly required by the agreement); Wolfv. Superior Court, 107 CaL. App. 4th

                2 25,31 (2003) (reposing trst and confidence in the party to a contract does not
                3 create a fiduciary relationship but rather affords redress for breach of contract).

                4 Thus, here, where the Employee Agreement

                5

                6 _ the cour should reject MatteI's attempt to convert its breach of contract

                7 claim into a tort claim, merely in order to obtain additional damages. See Rita

                8 Med. Systems, Inc. v. Resect Me,d., Inc., No. C 05-03291, 2007 WL 161049 (N.D.
                9 CaL. Jan. 17,2007) (granting summary judgment as to employer's claim of
                                                                                         breach
              10 of fiduciary duty where the employment contract between the paries did not
              11 "clearly indicate that (the employee) had a fiduciary duty" but did create other
              12 legal duties, such as the duty to keep trade secrets confidential, which covered all
              13 the theories of
                                                   breach of fiduciary duty); see also JRS Prods., Inc. v. Matsushita
              14 Elec. Corp. of Am., 115 CaL. App. 4th 168, 183 (2004).9

              15 Because Bryant owed MatteI no fiduciary duty, he cannot have breached any

              16 such duty. Accordingly, he is entitled to summary judgment on MatteI's claims for

              17 Breach of                 Fiduciary Duty (AC 7, MC 2), in their entirety.
              18 B.                No contract gives MatteI any ownership of                    Bratz under California law,
                                   regardless of when Bryant had the idea.
              19

             20 Bryant is also entitled to summary judgment in his favor on MatteI's claims
             21 of           breach of contract, copyrght infrngement, and related claims which depend on
             22 MatteI's              alleged         ownership ofBryants Bratz idea, Bratz sketches, or any copyright
             23

             24' 9 Although MatteI alleged that Bryant was an agent of MatteI, the undisputed facts show
             25 th~t  Bryant
                  relies uponwas  MatteI's
                              a theory     employe.e,
                                       of agency, it is not its agent.attempt
                                                        an improper    See supra,  n?te the
                                                                              to aVOld   9. To tne extent
                                                                                            holding of GABMatteI
             26 Business and therefore should be rejected. See GAB Business, 83 CaL. App. 4th
                                                                                                                   at 420-21
                  (California law does not impose fiduciary duty on non-officer employees that do not
             27 "participate
                  03291 WHA, in management.");
                                2007 WL 161049,seeatalso, Rita Med.
                                                      *5 (N.D. CaL. Sys., Inc. v. Resect
                                                                    Jan. 17,2007)        Med.argument
                                                                                   (rejecting Inc., C 05-
                                                                                                       that
             28 employees  with managerial
                 fiduciary duties           authority owe fiduciary duties as agents as it "extends
                                  much too far").
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               1 therein.1o Bryant maintains that he had the idea for Bratz while he was not

              2 working at MatteI, and did not violate any duties
                                                                                                               to MatteI. However, even if
              3 Bryant had come up with the idea'for Bratz and done his early artwork illustrating
              4 the concept while working at MatteI (which he'did not), the undisputed facts prove
              5      that no contract gives MatteI any rights to Bratz.
              6                  1. California contract law requires the Court to consider extrinsic
                                             evidence of the parties' intentions in interpreting MatteI's
              7                              paperwork,  and to protect the weaker party to one-sided
                                             agreements.
              8

              9 Under the basic California principles governing the interpretation of any
            10 contract between Bryant and MatteI, the Court must consider all available evidence
            11 of the parties' intent to determne
                                                                                   whether the contract is reasonably susceptible to
            12 more than                 one interpretation. Parsons v. BristolDev. Co., 62 CaI. 2d 861; 865-66
            13(1965). Even if                        contractual        language appears unambiguous on its face, the Court
            14 must undertake this preliminary review of all credible evidence offered to prove
            15 the parties' intent. Pac. Gas &
                                                                              Elec. Co. v. G. W Thomas Drayage & Rigging Co.,
            16 69 CaI. 2d 33,39-40 (1968); Wolfv. Superior Court, i 14CaI. App. 4th 1343, 1351
            17 & 1356 (2004). "The test of admissibility of extrnsic evidence to explain the
            18 meaning of a wrtten instrent is not whetherIt appears to the cour to be plain
            19 and unambiguous on its face, but
                                                                                  whether the offered evidence is relevant to prove
            20 a meaning to which the language of
                                                                                       the instrmentis reasonably susceptible.'"

            21 Pac. Gas & Elec., 69 CaI. 2d at 37 (citations omitted). Thus, "'(t)he mutual
            22 intention to which the courts give effect is determned by objective manifestations
            23 of          the parties' intent, including the words used in the agreement, as well as
            24 extrinsic evidence of such objective matters as the surounding circumstances
            25

            26 10 Specifically, MatteI's lack of ownership of
                                                                                                  Bratz defeats each of    the following claims:
                                                                                           Fiduciary
                                      Contract (AC 5, MC 1), Copyright Infringement (AC 1), Breach of

                    Duty (AC 7, MC 2), Unjust Enrichment (MC 4), Conversion (AC 11, MC 5), Unfair
            27 Breach of



            28 Competition   (AC 12), andreasons
                additional, independent    Declaratory Relief
                                                 discussed     (AC sections
                                                           in other 13). These claims
                                                                            of this    also fail for
                                                                                    brief.
                                                              18
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       1 under which the parties negotiated or                                    entered into the contract; the object, nature
       2 and subject matter of                       the contract; and the subsequent conduct of                  the parties.'"

       3 People v. Shelton, 37 CaL. 4th 759, 767 (2006) (citations omitted); Pacifc Gas &
       4 Elec. Co., 69 CaL. 2d at 39-40; CaL. Civil Code § 1647 ("A contract maybe
       5 explained by reference to the circumstances under which it was made, and the

       6 matter to which it relates.").
       7 Where a contract remains reasonably susceptible to two interpretations, even
       8 taking into consideration the extrinsic evidence of                                       the parties' understanding and
       9 intent, the remaining conflict must be resolved against the drafter of the contract.
      10 Logic and equity require that, where contract terms are uncertain, their language
      11 must be read to limit the rights of the part who caused the uncertainty: the drafter
      12 of           the contract. Graham v. Scissor-Tail, 28 CaL. 3d 807, 819-20, n. 16 (1981).; see
      13 also Powerline Oil Co. v. Superior Court, 37 CaL. 4th 377,391 (2005); CaL. Civil
      14 Code § 1654 ("(T)he language of a contract should be interpreted most strongly
      15 against the party who caused the uncertainty to exist."). This doctrne of contra
      16 preferentem applies with particular force to contracts of adhesion and contracts
      17 prepared by one party's attorney. Badie v. Bank of America, 67 CaL. App. 4th 779
      18 (1998) (adhesion); Neal v. State Farm Ins. Co., 188 CaL. App. 2d 690,694 (1961)
      19 (adhesion); Mayhew v. Benninghoff 53 CaL. App. 4th 1365 (1997) (one part's
      20 attorney).
      21 Additional                              limitations apply to a contract of adhesion, in which "the part
      22 with superior bargaining power permts the other part to adhere to the contract or
      23 reject it, but does not permt an opportnity to bargain over its terms." Goddard v.
      24 S. Bay Union High Sch. Dist., 79 CaL. App. 3d 98, 105 (1978); see also Graham v.
      25 Scissor-Tail, Inc., 28 CaL. 3d 807, 817 (1981) (defining adhesion contract as "a
      26 standardized contract, which, imposed and drafted by the party of superior
      27 bargaining strength, relegates the subscribing part only the opportunity to adhere
      28 to the contract or reject it" (quoting Neal v. State Farm Ins. Co., 188 CaL. App. 2d
                                                      19
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              1 690, 694 (1961 )). Because of this imbalance of power, even if a contract term is
              2 not ambiguous, courts impose two further limitations on contracts of adhesion: (1)
              3 a provision that does not fall within the reasonable expectations of the adhering

              4 pary will not be enforced against him; and (2) a
                                                                                      contract or provision wil be
              5 denied enforcement if considered in its context it is an unduly oppressive or
              6 unconscionable provision. Graham v. Scissor- Tail, Inc., 28 CaL. 3d at 820; Cubic
              7 Corp. v. Marty, 185 CaL. App. 3d 438 (1986). Unconscionability has "both a

              8 procedural and a substantive element, the former focusing on oppression or

              9 surprise due to unequal bargaining power, the latter on overly                     harsh or one-sided
            10 results." Discover Bank v. Superior Court, 36 CaL. 4th 148, 160 (2005) (quotations

            11 and citations omitted). A contract of adhesion-by definition the result of
            12 oppressively unequal bargaining power-is necessarily procedurally
            13 unconscionable. ¡d. "Substantively unconscionable termsmay take various forms

            14 but may generally be described as unfairly one-sided." ¡d. Thus, an adhesion
            15      contract must be read to avoid results that are either outside the reasonable
            16      expectations of the weaker part or results that are substantively unconscionable.
            17                  2. Bryant's contract with Mattei is a contract of adhesion, and any
                                            ambiguities must be interpreted in Bryant's favor.
            18

            19 Under the principles outlined above, Mattel' s Employee Agreement is a
            20 contract of adhesion.
                                    1 Even setting aside MatteI's indisputably superior position
                                                           1




            21 as Bryant's new employer, Mattel had vastly superior resources and power as
            22 compared to Bryant. As described above,
            23

            24

            25

            26
                    11 MatteI's Questionnaire and Proprietary Information Checkout are not contracts binding
            27      on Bryant, as explained below. To the extent that either document could conceivably be
            28 treated as aexplained
                 reasons    contract,here.
                                      however, it would
                                           SUP iiir        also be a contract of adhesion for the same
                                                    7, 15, 19.
                                                                                 20
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             6                                                               Given the adhesive natue of the Employee
             7 Agreement, the doctrne of contra preferentem applies with special force, Badie v.
             8 Bank of America, 67 CaL. App. 4th 779 (1998), and any interpretation is improper
             9 if       it leads to a result that is either outside of                Bryant's reasonable expectations, or
            10 oppressive and unfairly one-sided. Graham, 28 CaL. 3d at                             820; Cubic Corp. v.
            11 Marty, 185 CaL. App. 3d 438 (1986).

            12 3. The Employee Agreement does not give MatteI rights to Bratz.

            13                              a.          "Inventions" under the Employee Agreement do not include
                                                        Bratz.
            14

            15 The Employee Agreement purports to give MatteI rights only to Bryant's
            16 "inventions" while employed at the company, but the term "inventions" does not
                                                                         12 Although MatteI (in
            17 encompass Bryant's Bratz idea, sketches, or other materiaL.



            18 hindsight) seeks to stretch the term to include any and all creative effort or ideas,
            19 its ordinary meaning-and the meaning that must prevail here even if the term can
            20 be considered ambiguous-is limited to technical, scientific discoveries and
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             1 devices. The express language of the Employee Agreement does not impose the

            2 broad meaning MatteI now seeks.

            3 (i) In ordinary English usage, and in the textual context
                               of the Employee Agreement, "inventions" do not
            4 include an idea or sketches for doll characters.
             5 An "invention" is a useful device, method                or process, resulting from
             6 scientific or technical experimentation and discovery. See American Heritage

             7 Dictionary 4th ed. (2006) (defining invention as "A new device, method, or

             8 process developed from study and experimentation: the phonograph, an invention

             9 attributed to Thomas Edison."). In this common           definition, a lightbulb ora robot is
            10 an invention; an idea or sketch of a fashion doll character (no matter how
            11 artistically creative) is not. Under California law, this ordinary meaning applies to
            12 the Employee Agreement. HayterTrucking, Inc. v. Shell Western E & P. Inc., 18
            13 CaL. App. 4th 1,15 (1993) ("Generally speaking, words in a contract are to be
            14 constred according to their plain, ordinary, popular or legal meaning, as the case
            15 may be."); CaL. Civil Code § 1644 (providing that "(t)he words ofa contract are to
            16 be understood in their ordinary and popular sense").
            17 Moreover, MatteI's Employee Agreement                    defines "inventions" in a way that
            18 reinforces this common meaning and is also consistent with the term's meaning
            19 under United States patent law. The Employee Agreement states that the word
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            21

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            24                                                  See 35 U.S.C. § 101 (offering potential
            25 patent protection to those who "invent(J or discover(J any new and useful process,
            26 machine, manufacture, or composition of matter, or any new and useful
            27 improvement thereof').
            28
                                                                22
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       5 Words in a contract, as in any other text, take their meaning from context.
       6 Under California law, in keeping with traditional canons of interpretation, a word
       7 of doubtful meaning should be read to fit conceptually with others grouped with it,
       8 to preserve the overall good sense of the text and avoid broadening the meaning of

       9 the contract beyond what the parties intended. Although "most words, when
      10 considered in isolation, may have more    than one definition or usage," the
      11 California Court of Appeals has explained that "in construing a contract the court's
      12 function is not merely to import all of the possible definitions or even the broadest
      13 definition, but to glean the meaning of the words from the context and usage of
      14 the words in the contract itself" Mirpad, LLCv. Cal. Ins. Guarantee Ass 'n, 132

      15 CaL. App. 4th 1058, 1069 (2005) (emphasis in original). See also CaL. Civil Code §
      16 1648 ("However broad may be the terms of a contract, it extends only to those
      17 things concerning which it appears that the parties intended. to contract."); Eskridge
      18 & Frickey, Legislation 637 (2d ed. 1995) (discussing noscitur a sociis canon).
      19

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      27 See Section 102(g)(2) of the Patent Act
      28 (35 U.S.C. § 102) ("In determning priority of invention... there shall be
                                                    23
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             1 considered not only the respective dates of conception and reduction to practice of
            2 the invention, but also the reasonable diligence of one who was first to conceive

             3 and last to reduce to practice") (emphasis added); CaL. Civil Code § 1645

             4 (providing that technical words must ordinarily be given their technical meaning).

             5 Likewise, the Employee Agreement's
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            15 a result that California law precludes. CaL.
            16 Civ. Code § 1641 ("(t)he whole ofa contract is to be taken together, so                       as to give
            17 effect to every part, if reasonably practicable, each clause helping to interpret the
            18 other"). 'The only consistent and plausible interpretation of is that

            19 "inventions" includes matter of a tye that could potentially be eligible for patent
            20 protection, but for which for some reason no patent is available.                         i


            21 Moreover,
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             1 clearly distinguish between patent and copyright ownership. See Alfred Bell & Co.

            2 v. Catalda Fine Arts, Inc., 191 F .2d 99, 101 (2d Cir. 1951 ) (explaining that "the
             3 very language of                    the Constitution (Ar. I, sec. 8, cl. 8) differentiates (a) 'authors'
            4 and their 'writings' from (b) 'inventors' and their 'discoveries"). The words
             5 "invent," "invention," and "inventor" never appear in the Copyright Act, which

             6 instead provides for protection on "original works of authorship" including, among

             7 others, "literary works" and "pictorial, graphic, and sculptural works." 17 U.S.C. §
             8 102(a). The Employee Agreement Bryant signed

             9

            10

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            14                                         (ii)   Extrinsic evidence also supports a narrow               meaning
                                                              for "inventions."
            15
                                  Not only does the ordinary meaning of "invention" in the Employee
            16
                   Agreement fail to encompass Bryant's Bratz idea or sketches, but the extrnsic
            17
                   evidence of circumstances surrounding the contract also does not support a broader
            18
                   meaning. That is because neither the circumstances in which MatteI imposed the
            19
                   Employee Agreement on its employees nor the parties' conduct under the
            20
                   Agreement supports a broad reading of                                the term "inventions." CaL. Civil Code §§
            21
                    1647-1649.
            22
                                  The parties' course of conduct after the contract was entered into, but before
            23
                    any dispute arose, is relevant to interpreting the disputed terms. S. Pac. Transp.
            24
                    Co. v. Santa Fe Pac. Pipelines, Inc. 74 CaL. App. 4th 1232, 1242 (1999). This rule
            25
                   is not limited to the joint conduct of the paries; "the conduct of one part is
            26

            27
                    e.g., Hutchins v. Zoll Med. Corp., 492 F.3d 1377, 1380-85 (Fed. Cir. 2007) (involving a
            28      computer system eligible for both patent and copyrght protection).
                                                                                          25
                    (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMARY JUGMENT; MEMORANDUM OF
412879.01                               POINTS AND AUTHORITIES IN SUPPORT THEREOF
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              1 relevant to show that the contract is reasonably susceptible to the meaning
             2 evidenced by that part's conduct." S. Cal. Edison Co. v. Superior Court, 37 CaL.

             3 App. 4th 839, 851 (1995) (internal citations omitted). Here,
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             9                                                                                                 If MatteI had in fact
            10 believed that all such efforts                             belonged to MatteI under its Employee Agreements,
            11 one would have expected the company to take some steps to protect its rights.
            12 Instead ,
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            15 Indeed, even MatteI itself                                          has acknowledged through its own actions the
            16 limitations on the scope of                             the Employee Agreement by
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            18 Montrose Chern. Corp. v. Admiral Ins. Co., 10 CaL. 4th 645,670 (l995) (drafting
            19 history of standardized form policy was relevant to interpreting meaning of
            20 contract); City of                    Oakland v. Harding ESE, Inc., 2004 WL 2646654, at *4 (N.D.
            21 CaL. Nov. 17,2004) ("The Court may consider subsequent conduct of                                       the parties to
            22 determne their contractual intent."); 1 B.E. Witkin, Summary of California Law,
            23 Contracts § 749 (lOth ed. 2007) (same). Specifically,
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                                                                                          26
                     (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
412879.01                                POINTS AND AUTHORITIES IN SUPPORT THEREOF
                                                CASENO. CV 04-09049 SGL (RNBx)
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             6                                          (Hi)       MatteI's post-hoc; all-inclusive interpretation of the
                                                                    term "inventions' is unreasonable and unsupported
             7                                                      by either the intrinslc or extrinsic evidence.

             8 With the benefit of                                  hindsight, MatteI now seeks to expand the term
             9 "inventions" in the 1999 Employee Agreement to include any and all creative ideas
            10 or acts by its employees-an interpretation                            that   no express language in the
            11 Employee Agreement itself provides. Indeed, under the interpretation MatteI urges
            12 in litigation, the Employee Agreement would give it unbounded
                                                                                                            rights to its

            13 employees' very creative souls.
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                      (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01
                                          POINTS AND AUTHORITIES IN SUPPORT THEREOF
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             3 Even if the term "invention" were reasonably susceptible to such a vast and
             4 expansive reading (which it is not), however, that interpretation would not be
             5 appropriate given the textual context                                     of   the Employee Agreement and the
             6 circumstances surrounding its formation. Under MatteI's view, its adhesive
             7 agreement means not what it fairly communicates to the party without bargaining
             8 power, but rather whatever the part with the                                         power claims (in retrospect) to have
             9 intended-whether expressly stated or otherwise. That is not the law, nor could
            10 equity permt such a result. See CaL. Civ. Code § 1649 (promise understood as

            11 promisor believed the promise understood it); CaL. Civ. Code § 1654 (language
                                         against the drafter).
            13 b. lle
            12 interpreted




            14

            15

            16 Even if                         Bryant'        s Bratz idea or sketches were               an "invention" under the
            17 Employee Agreement
                                                              (which they are not), the Employee Agreement
            18

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            20 language does not include projects that Bryant came up with on his own time, and
            21 not during the performance of                                 his duties.

            22 First, the text of the agreement is ambiguous on its face.
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                     (PUBLICREDACTED) BRYANT'S MOTION FOR PARTIAL SUMARY JUGMENT; MEMORANDUM OF
412879.01                               POINTS AND AUTHORITIES IN SUPPORT THEREOF
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             6 Second, 'all of the circumstances that support a narrow reading of the term

             7 "invention," discussed above, also support a narrow reading of the phrase _
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            12 The only reasonable interpretation, especially given MatteI's
            13 superior position as the drafter (through lawyers) of                    the Employee Agreement, is
            14 one that limits MatteI's rights to the                  product of   its employees' labors during
            15 performance of their actual work assignents for MatteI.
            16 c. does                                                                    not make Bratz MatteI's
                                                                                     or trade secret.
            17
                                In addition to assigning rights to certain "inventions," the Employee
            18
                    Agreement also addresses MatteI or trade secrets.
            19
                    However, the Employee Agreement does not give MatteI any rights to Bryant's
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                    Bratz idea, sketches, and other material, because they do not constitute
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                                           within the meaning of the agreement. 16
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                     (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                                POINS AND AUTHORITIES IN SUPPORT THEREOF
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            1 The term "Proprietary information" does not include Bratz, because Bryant's

            2 Bratz ideas, sketches and other work, regardless of when created, were not

            3 information

            4

            5 is not ambiguous here and the court should give the                                           phrase its

            6 ordinary common meaning. CaL.Civ. Code § 1644; Hayter Trucking Inc. v. Shell
            7 Western E & P. Inc., 18 CaL. App. 4th 1, 15 (1993) ("Generally speaking, words in
            8 a contract are to be constred according to their plain, ordinary, popular or legal
            9 meaning, as the case                        may be."). Courts consult a dictionary to determine ordinary
            10 meaning. People ex reI Lockyerv. R.J Reynolds Tobacco Co., 116 CaL. App. 4th
            11 1253, 1263 (2004).

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                                      ,
            21 In addition, to the extent the phrase is at all
            22 uncertain, the extrnsic evidence supports Bryant's interpretation. All of the
            23 extrinsic evidence concerning MatteI and other employees' treatment of the
            24 agreement, as well as (discussed above
            25

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            28
                                                      (emphasis added).
                                                                              30
                    (PUBLIC REDACTED) BRYANT'S MOTION FOR
                                                                            PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
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          1 with respect to other terms of                      the Employee Agreement) also supports a narrow
          2 reading of                  this term. See, e.g., S. Cat. Edison Co. v. Superior Court, 37 CaL. App.
          34th 839, 851 (1995) ("(T)he practical interpretation of the contract by one part,
          4 evidenced by his words or acts, can be used against him onbelialf of the other
          5 part, even though that other part had no knowledge of those words or acts when

          6 they           occurred").
          7 Finally, even if any of                            the terms          of   the Employee Agreement could
          8 conceivably mean what MatteI claims (which the evidence shows they do not),
          9 despite their plain meaning and the extrinsic evidence, under the contra

         10 preferentem doctrne all ambiguities must be resolved in Bryant's favor.17 MatteI
         11 drafted a less sweeping contract than it now claims, and (as the drafter) should be
         12 held to the terms it established. See supra Section B(3)(a). Therefore, the
         13 Employee Agreement cannot                           give       MatteI any ownership       of   Bryant's Bratz idea or
         14 materials, andMatteI's claims                         against Bryant fail, as they         Tely on MatteI's
         15 allegations of such ownership.
         16                                 d.        The adhesive Employee Agreement cannot be interpreted to
                                                      encompass Bratz, because that result would be outside of an
         17                                           employee's reasonable expectations.
         18 In addition, even if ordinary contract interpretation allowed the result MatteI
         19 seeks here (which it does not), the                            Employee Agreement could not give MatteI
         20 ownership of                     Bratz because that result would be outside of a MatteI employee's
         21 reasonable expectations in signing it. As explained above, a contract of adhesion
         22 provision that "does not fall                     within the reasonable expectations of              the weaker
         23 'adhering' part will not be                       enforced against him." Cubic, 185 CaL. App. 3d at

         24 450; Gray v. Zurich Ins. Co., 65. CaL. 2d 263 (1966). The standard for determning
         25 "expectations" is an objective one; the                                meanings of adhesive terms are determined
         26

         27 17ownership
                In addition, as also
                          must  discussed   further below,
                                     be int~1Ereted        ambiguities
                                                     to favor           in owner
                                                              the original purported transfers
                                                                                 (here, Bryant),oftocopyright
                                                                                                     avoid
              inadvertent transfers. See Effects Assocs., Inc. v. Cohen, 908 F.2d 555, 557 (9th Cir.
         28 1990); Bieg v. Hovnonian Enterprises,
                                                                             Inc., 157 F. Supp. 2d 475,480 (B.D. Pa. 2001).
                                                                  31
                          (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
                                                                      IN SUPPORT THEREOF
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       1 by considering them in light of                                what a"hypothetical reasonable" person in the
       2 weaker part's position or circumstances would "glean from the wording." Id.; see

       3 also Gray, 65 CaL.2d at 271. The question for the Court, then, is what a MatteI
       4 employee would reasonably have                                     understand he or she had "signed away."
       5 Notice is "an extremely significant (factor) to be weighed in assessing the

       6 reasonable expectations of                             the adhering part," and provisions contrary to the

       7 reasonable expectations of the adhering part must be "denied enforcement in the

       8 absence of 'plain and clear notification' and 'an understanding                                   consent. ", Graham
       9 v. Scissor-Tail, Inc., 28 CaL.3d 807, 820 n.18 (1981). Accordingly, counter-

      10 intuitive terms and definitions must be "conspicuous, clear, and plain," Steven v.
      11 Fid. & Cas. Co., 58 CaL. 2d 862, 878 (1962), not buried in the "fine-print." See,
      12 e.g., Geoffroy v. Washington Mut. Bank, 484 F. Supp. 2d 1115, 1122 (S.D. CaL.

      13 2007). Cf Papa 's-June Music v. McLean, 921 F. Supp. 1154, 1159 (S.D.N.Y.

      14 1996) (the                 "terms of        any writing purporting to transfer copyrght interests, even a
      15 one-line pro forma statement, must be clear" or they will not be enforced).
      16 The Employee Agreement fails this test. Nothing in the express terms'                                            of   the
      17 agreement provides the broad interpretation MatteI now seeks to impose. SUF iT 7
      18 (Ex. 8). Moreover,
      19

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      21

      22 is A new             MatteI employee being handed the Inventions Agreement as part of
                                                                                                             the HR in-
              processing, with no                explanation of the legalese and no choice but to sign it, is in a
      23 position comparable to a typical consumer obtaining information from commercial
          advertising. Federal false advertising law under the Lanham Act, accordingly, provides
      24 useful analogous principles. Generally, "persons reading a print ad often wil read only
              the headline, and wil take their sole impression of the ad from it." In re Thompson Med.
      25 Co., 104 F.T.C. 648, 799 (1984), afld, 791 F.2d 189 (D.C. Cir. 1986), cert. denied, 479
              U.S. 1086 (1987). Here, the "headlines" are the name of                            the contract and the cautionary
      26 statement making the Inventions Agreement, the counterpart to an advertisement
          dominated by its headlines. In determining whether an advertisement is false or
      27 misleading, a "definition or disclaimer which purports to change the apparent meaning ...
          but which is so inconspicuously located or in such fine print that readers tend to overlook
      28 it, it wil not remedy to misleading nature." Am. Home Prods. Corp. v. Johnson &
              Johnson, Inc., 654 F. Supp 568, 590 (S.D.N.Y. 1987); see also FTC v. Cyberspace.
                                                                                                                           com,
                                                                                          32
               (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
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             6 Webster's Third New Int'l Dictionary 1188 (1986); American Heritage Dictionary
             7 (4th ed. 2006) ("a new device, method or process developed from study and

             8 experimentation; the phonograph, an invention attributed to Thomas Edison").

             9 That reading is consistent with the common meaning that, for example, Thomas
            10 Alva Edison and Alexander Graham Bell were "inventors," but Michelangelo was
            11 an artist. In that common understanding, an idea or sketch of a fashion doll is
            12 certainly not an "invention."
            13 Thus, the "reasonable expectation" of a new MatteI employee in 1999,
            14 provided with                   the Employee Agreement                          during HR in-processing, would be that
            15 devices that the employee might Hinvent," but not his or her ideas or artistic works,
            16 would be owned by MatteI. Nothing in the agreement's express language provides
            17      for the broad meaning Mattel now seeks. Bryant should not be held to MatteI's
            18      sweeping revisionist reading of the limited contract it actually imposed upon
                                                                                                                                         him.

            19                              e. The               adhesive Employee Agreement cannot be interpreted as
                                                        Mattei claims, because that result would be unconscionable.
            20
                                MatteI claims that the Employee Agreement covers any and all creative
            21
                    ideas or acts by its employees, but even if the agreement supported that
            22
                    interpretation, it would be an unconscionable result.19 Interpreting the provision to
            23

            24 453 F.3d 1196, 1200-01 (9th Cir.2006) (fine print notices placed on mail solicitations did
                     not cure overall misleading impression of                               the solicitations). The provisions MatteI   relies
            25       on are all in the "fine print."
                     19 The Court has already considered the terms of the Employee Agreement on motions to
            26
                     dismiss and concluded, looking only within the four comers of the document, that it is
            27 not unconscionable for MatteI to expect "that the works of its design staff-created by
                MatteI's employees, using MatteI's resources, during time for which MatteI paid the
            28 employee-be considered its property." July 18,2006 Order at 14. However, the Court
                     has not previously addressed the different question presented here: whether MatteI's
                                                                                                33
                     (PUBLIC REDACTED) BRYANT'S MOTION FORP ARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                                POINTS AND AUTHORITIES IN SUPPORT THEREOF
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       1   apply to information Bryant developed outside his job at MatteI would be
       2   "oppressive" and "unconscionable." Graham v. Scissor-Tail, 28 Cal. 3d at 820.
       3   MatteI's interpretation of                     this provision is unfairly one-sided and against public
       4   policy. DiscoverBankv. Superior Court, 36 Cal. 4th at 160-163.
                                                                                                                       MatteI appears
       5   to interpret the Employee Agreement as a Faustian document in which its
       6   employees surrender their very souls to the company: every thought, idea, or
       7   creative inspiration, whatever its natue and whenever it arises, is sacrificed. See,
       8   e.g., SUF ~ 50-52. The ordinary plain meaning of                                              MatteI's Employee Agreement
       9   does not warn employees of anything like this result, and it would be unfair to
      10   impose such a sweeping sacrifice without due notice and a meaningful opportnity
      11   for reflection and counseL. See SUF ~ 39. MatteI's contemporaneous treatment
                                                                                                                                    of
      12   the Agreement (discussed above) further underscores the unfair and oppressive
      13   impact, under all the circumstances, of the expansive interpretation MatteI now
      14   seeks for its own poorly-drafted contract. Finally, a sweeping interpretation of
                                                                                                                                   the
      15   Employee Agreement would undermne federal copyright law's core goals of
      16   ensurng predictability of ownership by avoiding inadvertent transfers (discussed
      17   further below).
      18               4. The Eml?loyment Agreement is nota valid transfer of copyright
                                                          the Copyright Act
                                   ownersJiip under Section 204(a) of

      19
                       In addition to its other defects, the Employee Agreement cannot transfer any
      20
           copyright in Bratz from Bryant to MatteI because it does not satisfy the Copyright
      21
           Act's requirements for such a transfer of ownership.20 Under Section 204(a) of
                                                                                           the
      22

      23   broader interpretation of                   the Agreement's provisions, which seizes for MatteI all of                 its
      24 employees' creative
          unreasonable       acts (even those
                       or unconscionable       done
                                           on the    outsidefacts
                                                  particular theirpresented
                                                                   MatteI employment),
                                                                            here.      is
          20 To bring any copyright infringement claim basedon any copyrght in Bryant's Bratz
      25
           sketches or other materials (to the extent copyright protection is available), MatteI would
      26 need to prove that it owned the copyrght, 17 V.S.C. § 501(b), either as the original


      28 17
           owner or through a valid transfer of ownershi . H re attel ann t cl im th an Bratz
      27            ri h ves initiall in M ttel cau


           V.S.C. § 101 (defining work for hire). Thus, Matte can only seek to claim ownership
                                                                                          34
            (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
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        1 Copyright Act, any transfer of copyright ownership must be clear and in writing to
       2 be valid. 17 U.S.C. § 204(a); Pamfiloffv. Giant Records, Inc., 794 F. Supp. 933,

       3 936 (N.D. CaL. 1992); Foraste v. BrownUniv., 290 F. Supp. 2d 234,240-41

       4 (D .R.I. 2003) (collecting cases holding that 204( a) requires the drafter of a transfer
       5 document to be "explicit," "precis
                                                                              ( e)," "clear," and "unequivocal"). Specifically,
       6 the written transfer instrment must (1) "reasonably identify the subject matter of

       7 the agreement"; (2) "be sufficient to indicate that the parties have come to an
        8 agr~ement"; and (3) "state with reasonable certainty the essential terms of                                   the
        9 contract." Pamfiloff 794 F. Supp. at936; Konigsberg, Intl, Inc. v. Rice, 16 F.3d
      10 355, 357
                    (9th Cir. 1994) (requiring written transfer instrument to "be the product of
      11 the parties' negotiations"). These requirements prevent the inadvertent transfer of
      12 ownership rights by                        "forc(ing) a part who wants to use the copyright work to
      13 negotiate with the creator to determne precisely what rights are being transferred
      14 and at what price," thus                          serving Congress's "paramount goal" of             "enhancing
      15 predictability and certainty of copyright ownership." Effects Assocs., Inc. v.
      16 Cohen, 908 F.2d 555,557 (9th Cir. 1990). In keeping with this goal of                                       avoiding
      17 inadvertent transfers, any ambiguity in a purported transfer should be resolved in
      18 favor of              the original copyrght holder. Bieg v. Hovnonian Enterprises, Inc., 157 F.
      19 Supp. 2d 475,480 (E.D. Pa. 2001).
      20 As explained in theprevious section, the Employee Agreement Bryant

      21 signed here fails to give MatteI any rights to Bratz at all, even without considering
      22 the independent and additional                                  limitations of Section 204(a). In addition, however,
      23 the Employee Agreement fails to satisfy Section 204(a) for all the same reasons
      24 that it fails to transfer rights to Bratz under the ordinary principles of California
      25 contract law. The Employee Agreement was not the result of any negotiations, but
      26 a form adhesion contract that MatteI unilaterally forced upon Bryant. SUF i-i- 9,
      27

      28 through a valid transfer-which, as explained here, did not occur.
                                                                                         35
               (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01 POINTS AND AUTHORITIES    IN SUPPORT THEREOF
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             1 11-12,17,20.

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             5 Also, no evidence suggests that                                                            either MatteI or (more
             6 importantly) a reasonable employee would have understood that the Employee

             7 Agreement would transfer ownership of                                          his creative work outside the course and
             8 scope of his employment at MatteI. Thus, summary judgment in Bryant's favor is
             9 proper on all of                   MatteI's claims                based   on    ownership of any copyright in Bratz.
            10 Radio Tele. Espanola v. New Works Entm 't, Ltd., 183 F.3d 922,926-29 (9th Cir.
            11 1999) (affirmng summary judgment based on lack of wrtten transfer document
            12 satisfyng Section 204).
            13                    5.        MatteI's Conflict of Interest Questionnaire gives Mattelno rights
                                            to Bratz because it is not a valid contract and by its own terms it
            14                              conveys no rights to  Bratz.
            15                              a. MatteI did not intend the Questionnaire to be a contract,
                                                        and neither MatteI, Bryant, nor other MatteI employees
            16                                          understood it to be one.
            17 MatteI's choices in drafting the Questionnaire, and its undisputed handling
            18 of the Questionnaire, make clear that MatteI never intended the Questionnaire to be
            19 a contract.
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            26 . Whether or not that clause influences the meaning of the
            27 Employee Agreement as it applies to Bryant, it precludes MatteI                                        (the drafter and
            28      more powerful party) from claiming that it intended the Questionnaire to serve as a
                                                                                              36
                     (PUBLIC REDACTED) BRYANT'S MOTION FOR P ARTlAL SUMMARY JUGMENT; MEMORANDUM OF
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             1 contract.

             2 Also, the Questionnaire is                                       expressly labeled a "questionnaire," not a
             3 "contract" or an "agreement." Both the document's title ("Conflict of                                            Interest
             4 Questionnaire") and

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            21 Thus,                                              based      on the Questionnaire itself             and MatteI's course of
            22 conduct related to the Questionnaire, a reasonable employee                                              would not understand
            23 the Questionnaire as a contract.
            24                              b.                                                  give
                                                        Even if the Questionnaire were a contract, it would not

                                                        Mattei any ownership rights over Bratz. ,
            25
                                Even if the Questionnaire were a contract, it could transfer no rights in Bratz
            26
                       to MatteI. The Questionnaire,
            27

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                                                                                                37
                       (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                                                  POINTS AND AUTHORITIES IN                       SUPPORT THEREOF
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            4               6. MatteI's deceptive Proprietary                                     Information Checkout is not a
                                        valid contract and cannot convey rights to Bratz.
             5
                            Finally, MatteI's Proprietar Information Checkout form is not a valid
             6
                 contract and cannot convey any rights to Bratz. See SUF ~ 47. As explained
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                            First, the Checkout form was not a valid separate contract, and could not
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                 create any new obligations for Bryant, because of the complete absence of any
            20
                 consideration. "(A)n additional agreement by                                     which new and onerous terms are
            21
                 imposed upon one of                     the parties without any compensating advantage requires
            22
                 consideration to support it." Selby v. Battley, 149 CaL. App. 2d 659,664 (1957).
            23

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                                                                                                         Thus, no binding contract
            26
                 could exist.
            27
                            Moreover, the Checkout form flatly misrepresented the terms of                               Bryant's
            28
                                                                                             38
                 (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                            POINTS AND AUTHORITIES IN SUPPORT THEREOF
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             1 actual Employee Agreement with MatteI. It asserted that Bryant
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            13 if the Checkout form could otherwise be binding on Bryant, MatteI's
            14 misrepresentation and fraud would render it unenforceable. See CaI. Civ. Code §
            15 1640 (portion of contract that fails to express the parties' tre intentions, through
            16 fraud, must be disregarded); § 1572 (defining fraud to include "the suggestion asa
            17 fact of that which is not tre, by                                   one who does not believe it to be tre" and "the
            18 positive assertion, in a manner not warranted by the information of                                             the person
            19 making it, of                 that which is not tre, though                             he believes it to be tre"); § 1565
            20 (consent required for contract), § 1689 (contract can be rescinded if consent of                                              the
            21 part rescinding was given by mistake, or obtained through duress, menace, fraud

            22 or undue influence); § 3399 (contract may be revised due to fraud                                              or mistake).
            23 MatteI could not remedy its failure to obtain ownership of                                             Bratz in the 1999
            24 Employee Agreement by later requiring Bryant to sign a form that grossly
            25 mischaracterized the terms of that agreement.
            26



            28
                                                                                                  39
                     (PUBLIC REDACTED) BRYANT'S MOTION FOR
                                                                                             PARTIAL SUMARY JUGMENT; MEMORANDUM OF
412879.01                                                    POINTS AND AUTHORITIES IN SUPPORT THEREOF
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                  1
                                                                                                * * *


                 2 In sum, the undisputed facts establish that no contract between Bryant and

                 3 MatteI gives MatteI any valid claim of ownership over the Bratz idea or any of its
                 4 various manifestations. The only contract Bryant signed                                              with MatteI, the
                  5 Employee Agreement, was a non-negotiable form document that
                 6                                                                                                             The terms of that
                 7 contract do not encompass any                                     part of   Bratz even under        ordinary rules of          contract
                  8 interpretation (especially because its ambiguities must be resolved against MatteI,

                  9 whose lawyers                    drafted it), let alone the more stringent requirements applicable to a
                10 contract of adhesion. The Employee Agreement also fails to satisfy 17 U.S.C. §
                11 204(a)'s requirements for a valid transfer of                                          copyrght ownership. The two other

                12 documents on which MatteI appears to rely (MatteI's Conflict of                                                     Interest
                13 Questionnaire and Proprietary Information Checkout)are not valid                                                        contracts, and
                14 even if            they were they would assign MatteI no                                   Tights to Bratz. Accordingly,
                15 summary judgment for Bryant is proper as to MatteI's claims for Breach of
                16 Contract (AC 5, MC 1), Copyrght Infrngement (AC 1), Breach of                                                           Fiduciary Duty
                17 (AC 7, MC 2), Unjust Enrchment (MC 4), Conversion (AC 11, MC 5), Unfair
                18 Competition (AC 12), and Declaratory Relief (AC 13), as each claim depends on
                19 MatteI's alleged ownership of                                   Bryant's Bratz idea, Bratz-related work, or any
                20 copyright therein.22
                21      C. MatteI's claim for unjust enrichment-if it still asserts one-fails
                            because unjust enricliment is not a valid separate cause of action.
                22
                                    It is unclear whether Mattelstill asserts a claim for unjust enrichment, but
                23
                        any such claim fails. The claim was not included in MatteI's Amended Answer
                24
                         filed on January 12,2007 nor was it listed in MatteI's Motion to Try All Claims
                25

                26
                        22 To the extent that the Court determines that any of
                                                                                                          these claims does not depend
                27 entirely on MatteI's alleged ownership of
                                                                                                Bryants Bratz idea, sketches, or other material,
                28 Bryant in the alternative
                    establishing that MatteI moves thehave
                                             does not  Court
                                                           anyfor an order
                                                                such        under
                                                                     right of     Fed. R. Civ. P. 56(d)
                                                                              ownership.
                                                                                                   40
                         (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01 POINTS AND AUTHORITIES IN SUPPORT
                                                                                THEREOF
                                                    CASE NO. CV 04-09049 SGL (RNx)
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       1 Related to BRATZ Ownership in Phase One, filed on May 8, 2007. Docket Nos.
      2 143 and 162. MatteI did, however, include the claim in its Memorandum
       3 Regarding Trial Strcture which it submitted to the Court on June 20, 2007 and
      4 which the Court adopted by order dated July 2,2007. Docket Nos. 560 and                                        608.
       5 (MatteI has not responded to Bryant's counseI's request that MatteI clarify whether

       6 or not it continues to assert a claim for unjust enrichment. Anderson Decl. ~ 2.)

       7 If MatteI continues to assert a claim for unjust enrichment, that claim must

       8 be rejected. California law is unambiguous: "There is no                                    cause of action for unjust
       9 enrchment. Rather, unjust enrichment is a basis for obtaining restitution based on
     10 quasi-contract or imposition of a constrctive trst." McKell v. Wash. Mut., Inc.,

     11 142 Cal. App. 4th 1457,1490 (2006); see                                    also   McBride v. Boughton, 123Cal.
     12 App. 4th 379,387 (2004) ("Unjust enrchment is not a cause of action. . . or evena
     13 remedy, but rather a general principle, underlying various legal doctrnes and

                                                    (quotation marks and citations
     14 remedies. It is synonymous with restitution.")



     15 omitted); Roots Ready Made Garments v. Gap, Inc., C 07-03363 CRB, 2008 U.S.
     16 Dist. LEXIS 9191, at *20-21 (N.D. Cal. 2008) (dismissing claim for unjust
     17 enrichment with prejudice because "(u)nder California law, there is no cause of
     18 action for unjust enrchment.") (quotation marks omitted). MatteI's claim for
     19 unjust enrichment, if                        it makes one, must therefore faiL.
     20 D. The Copyright Act preempts MatteI's Conversion and Unfair
                         Competition claims against Bryant, as set forth in the MGA parties'
     21 summary judgment motion.
     22 Bryant                         joins in MGA's argument that the Copyright Act preempts MatteI's
     23 claims for Conversion (AC 11, MC 5) and for Unfair Competition (AC 12),
     24 because those claims seek to protect under state law material for which MatteI
     25 claims (falsely) to hold federal copyright protection. Those claims fall within the
     26 exclusive scope of federal copyright law, and are preempted in their entirety.
     27 Bryant incorporates the related arguments and facts set forth in the Memorandum
     28 of         Points and Authorities in Support ofMGA and Isaac Larian'sMotion for Partial
                                                        41
                 (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01 POINTS AND AUTHORITIES IN SUPPORT THEREOF
                                                                    CASE NO. CV 04-09049 SGL (RNx)
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       1   Summary Judgment ("MGA's Brief') and MGA's Separate Statement of
       2 Undisputed Facts as though fully set forth herein .
       3   E. MatteI's unfair competition claims against Bryant fail because Mattei
                  can prove no conduct by Bryant that could support such a claim.
       4
                  MatteI's statutory and common law Unfair Competition claims (AC 12)
       5
           against Bryant also fail in their entirety, and Bryant is entitled to summary
       6
           judgment.
       7
                  1.          MatteI's statutory unfair competition claims lack merit.
       8
                  First, as to MatteI's statutory claims, Bryant                  joins in MGA's arguments that
       9
           MatteI's unfair competition claims fail because (1) MatteI cannot show that Bryant
      10
           engaged in any practice that would threaten a violation of anti-trst law or policy,
      11
           as required to support a finding ofunfaimess, and (2) MatteI cannot show that
      12
           Bryant engaged in any practices deceptive to the public (not merely MatteI or any
      13
           other competitor), as required to support a finding of fraudulent conduct.23 MatteI
      14
           also canot prove a statutory unfair competition claim against Bryant based on
      15
           unlawful conduct. The only theory MatteI advances for such a claim is one
      16
           premised on commercial bribery violating California Penal Code § 64l.3(a).
      17
                  Such commercial bribery is a criminal offense, however, that simply cannot
      18
           encompass all situations in which an ordinary employee agrees (before actually
      19
           departing) to leave his employer to work with another company. See Crosstalk
      20
           Prods. v. Jacobson, 65 CaL. App. 4th 631, 644 (1998) (affirming dismissal of
      21
           commercial bribery claim where no allegation that contract allegedly subject of
      22
           bribery was obtained improperly). MatteI cannot prove commercial bribery here
      23
           because Bryant did not act "corrptly" in his business dealings with MGA, as
      24
           Section 641.3 requires, nor did he "use" or "agree(J to use" his MatteI position for
      25
           MGA's benefit. ld. To the contrar, for all the reasons explained above in
      26

      27
           23 Bryant incorporates by reference as though fully set forth herein the argument sections
      28 ofMGA's Brief on these two points.
                                                                       42
           (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01 POINTS AND AUTHORITIES IN SUPPORT THEREOF
                                                         CASE NO. CV 04-09049 SGL (RNBx)
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         1 discussing Bryant's contract with                               MatteI, Bryant assigned to MGA only what was
        2 rightfully his own. Thus, MatteI can offer no evidence that Bryant acted

        3 "corrptly" within the meaning of Section 641.3. Likewise, MatteI does notallege,

        4 nOT can it prove, that Bryant used his position at MatteI to benefit MGA. Rather,
        5 MatteI alleges that Bryant assigned to MGA rights that he had allegedly already
        6 assigned to MatteI (which he did not). This ownership dispute has nothing to do

        7 with any             alleged use of             Bryant's position at MatteI. MatteI does not dispute that
        8 Bryant had and sketched his Bratz idea outside the scope of his MatteI
        9 employment, and not at MatteI's direction. See MGA SUF iT 80 (not works for
       10 hire); SUF iT 27. Thus, MatteI's statutory unfair competition claims fail in their
      11 entirety.
      12 2. Mattei's common law unfair competition claim also fails.

      13 In addition, MatteI cannot show that Bryant engaged in common law unfair
      14 competition, because Bryant did not pass offhis own goods as MatteI's, and MatteI
      15 'neither invested time and energy in developing the Bratz idea that it never owned
      16 nor was injured by Bryant's own use of                                       his idea. No evidence suggests that Bryant
      17 engaged in anything resembling the ordinary common law tort of
                                                                                                                unfair
      18 competition: the "passing off' of                                his goods for MatteI's. See Bank of       the West v.
      19 Sup. Ct., 2. Cal. 4th 1254, 1263 (1992). MatteI does not even allege that Bryant (as
      20 opposed to MGA) ever produced Bratz dolls, or that MatteI invested any-let
      21 alone substantial-time and money in developing Bratz dolls (which is not
      22 surprising, of course, given that MatteI never had any rights to Bryant's Bratz idea,
      23 sketches, or other work, for all the contract and other reasons set forth above). See
      24 Smith &              Hawken, Ltd. v. Gardendance, Inc., 2004 WL 2496163, *6-7 (N.D. Cal.
      25 Nov. 5,2004). MatteI also was not "injured," see id., by Bryant or anyone else's
      26 use of the Bratz idea and sketches, since (as explained above) they were never
      27 MatteI's propert at alL. Thus, Bryant is also entitled to summary judgment on
      28 MatteI's common law unfair competition claim.
                                                      43
               (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMARY JUGMENT; MEMORANDUM OF
412879.01 POINTS AND AUTHORITIES IN SUPPORT THEREOF
                                                                 CASE NO. CV 04-09049 SGL (RNx)
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             1 F.            MatteI's First, Eleventh, and Thirteenth Counterclaims.                                                       are Time-
                             Barred, as set forth in the MGA parties' summary judgment motion.
             2
                             Bryant also joins in MGA's argument (with supporting undisputed facts)
             3
                 that the statute of              limitations bars MatteI's claims of                                   Copyright Infrngement (AC
             4
                  1), Conversion (AC 11, MC 5), common law Unfair Competition (AC 12), and
             5
                 Declaratory Relief (AC 13). In sum, MatteI's claim of copyrght infrngement is
             6
                 barred because at its core it is simply a claim for copyright ownership (not
             7
                 infrngement), MatteI was on notice of                                    the         claim by February 2001 but did not               file
             8
                 within the applicable three-year statute of                                      limitations, and MatteI could not have
             9
                 filed timely because it failed to register its purported copyright in Bratz until after
            10
                 the three-year statute had expired. Likewise, MatteI's conversion claim fails
            11
                 because any claim accrued no later than October 2000, when Bryant left MatteI,
            12
                 and MatteI did not file within the three-year statute of                                                  limitations. MatteI's
            13
                 common law unfair competition claim is also untimely because MatteI was on
            14
                 notice of        the claim by February 2001 and failed to file within the three-year statute.
            15
                 Finally, MatteI's claim for declaratory                                relief           bears the same statute oflimitations as
            16
                 its equivalent non-declaratory claims, and thus is untimely for the reasons above to'
            17
                 the extent MatteI seeks a declaration concerning any of its untimely claims. Bryant
            18
                 incorporates the related arguments set forth in MGA's brief as though fully set
            19
                 forth herein.
            20
                                                                        iv. CONCLUSION
            21
                             F or all the foregoing reasons, Bryant respectfully requests that the Court
            22
                 grant partial summary judgment in his favor on each of the matters addressed
            23

            24

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            26

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                                                                                                 44
                 (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                            POINTS AND AUTHORITIES        IN SUPPORT THEREOF
                                                  CASE NO. CV 04-09049 SGL (RNx)
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              1 above, as set forth in the proposed Order submitted with this motion.24
             2                                                                     Respectfully submitted,

             3 Dated: March 7, 2008                                                KEKER& VANNEST, LLP
             4

              5
                                                                              By: Isl Chrsta M. Anderson
              6                                                                    CHRSTA M. ANDERSON
                                                                                   Attorney for Plaintiff
              7                                                                    CARTER    BRYANT
              8

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            26

            27 24 It is important to note that this motion does not present all of Bryant's defenses in this
                                                 Mattel's claims fail for a host of additional reasons (factual and legal)
            28 matter. Each of
                     that would be presented at the tral of             this matter.
                                                                             45
                     (PUBLIC REDACTED) BRYANT'S MOTION FOR PARTIAL SUMMARY JUGMENT; MEMORANDUM OF
412879.01                                POINTS AND AUTHORITIES IN SUPPORT THEREOF
                                                CASE NO. CV 04-09049 SGL (RNx)
